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FORM 8A. Entry of Appearance                                                 Form 8A (p.1)
                                                                                July 2020


                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

                               ENTRY OF APPEARANCE

          Case Number: 2025-1031
  Short Case Caption: Lynk Labs, Inc. v. Home Depot U.S.A., Inc.

 Instructions: Refer to Fed. Cir. R. 47.3 for requirements governing
 representation and appearance in this court. Counsel must immediately file an
 amended Entry of Appearance if contact information changes and update
 information through PACER’s Manage My Account. Non-admitted government
 counsel should enter N/A in lieu of an admission date. Use the second page to
 add additional counsel.

 Party Information. List all parties, intervenors, amicus curiae, or movants
 represented by below counsel; “et al.” is not permitted.

                                    Lynk Labs, Inc.

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 I certify under penalty of perjury that (1) the submitted information is true and
 accurate and (2) I am authorized to enter an appearance by all other listed counsel.
       10/21/24
 Date: _________________                Signature:    /s/ Jason A. Engel

                                        Name:         Jason A. Engel
